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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7       UNITED STATES OF AMERICA,                             Case No. 2:08-CR-332 JCM (GWF)
                 8                                             Plaintiff(s),                     ORDER
                 9              v.
               10        DWIGHT RAMON POLLARD, et al.,
               11                                            Defendant(s).
               12
               13              Presently before the court is the United States of America’s motion to attach the order of
               14       forfeiture as to defendant Dwight Ramon Pollard to the judgement in a criminal case. (Doc. #
               15       558). Defendant has not responded and the deadline to do so has passed.
               16              Reviewing the amended judgment for Dwight Ramon Pollard, the court finds that the order
               17       of forfeiture is attached. (See doc. # 557 at 7). The United States’ motion is made without reason.
               18              Accordingly,
               19              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States of
               20       America’s motion to attach the order of forfeiture as to defendant Dwight Ramon Pollard to the
               21       judgement in a criminal case (doc. # 558) be, and the same hereby is, DENIED as moot.
               22              DATED May 27, 2015.
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               24                                                     __________________________________________
                                                                      UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
